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                        Exhibit 1
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   ~PRECISION
         WEATHER SOLUTIONS                                                                    p,,.. i; lu ll\'.lt'.tl h.-, -.u lu t ,n 11!>.Lu rt1
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         tflciay. 22"1 October 2021

         OonaldE. §to.lt
         IPCO.U.C
         92S Towllll>n Ro.d
         Mclean. \tlrg·n1-. Ur.ilea StRSof A.'1Wia 22102


         Re: Interim Fund:ngAafeement



         Dear Mr. Dor.ala Stal4:

         lhlsisOlll'letterar,eementrepdingtneintl!rirnfu~forPreeislonWeatl'lerSolutiens.lnc.'sactionsapi111ti:.mers
          Edie Inc. a.'ld Farmets Ed,e (US\ Inc. .-.n the Vnited States.

          It Is asreecl mat IPCO wu. pey current OUW'and'ng lepl bUIS and will do so for the foraseeabie future until the partieS
          can reach a permanent funalng ;vra,wement. rn the event thtt a pem1anem f'.mdln& arrangement is not reached, all
          ina,rtm paymentS must be repaid 24 months fn>mJuty 12, 2021, me fling of tt-.e complaint.

          The Current estimate for the us aalons t3/ Dentons us I.LP 1$ i budget cl $2.5 mii, 01' USO. IPCO IS not under any
          obdptior, to piy this amount under this Interim a g r ~ In oraer to rucn a oermaneit funcf1t11 ~ that WII
          WYer the actions. IPCO wm desl.re p,ybaclc of its Investment In the actions plus a 1!i'6 continpnq, on anr reawer, as
          Consideration for it5 risk fn fundlnj.

          This aareemm. Will be ninstrJed undl!I' the laws of the State of Vlr&fnia in t!le un;ted ~ of ,..nenca. In the l!Ye1lt
          Ullt there ts fn/ d;spute belWNfl the parties, me parties shall as,ee to b'.na!ns arbitration for o1$1lllU! resdutlon witnln
          Iha WMhJnlton D.C. are. cf'VQlnia.

           Pteclsion Weaher Solution,;, Inc.                                             tPCO,LLC



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           &r, _ _ _ _ __
           SUsin R. llor:II. Chief &eclltlw Officer
